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                                                                                     April 24, 2024

VIA ECF

The Honorable James Donato
United States District Court for the Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Adler v. Twitter, Inc. & X Corp., No. 3:23-cv-1788-JD

Dear Judge Donato:

Defendant X Corp. (successor in interest to Twitter, Inc.) (“X”) submits this letter pursuant to the
Court’s Standing Order for Discovery in Civil Cases (the “Standing Order”), regarding Plaintiff
Eitan Adler’s (“Adler”) improper assertion of an “NLRA privilege” in response to X’s Requests
for Production of Documents (“RFPs”). On April 23, 2024, the Parties met and conferred via
videoconference, as counsel are located more than 50 miles apart, in accordance with the Local
Rules and your Standing Order. For the reasons identified below, X moves to compel production
of all documents and communications responsive to X’s RFP Nos. 3, 13-15, and 17-18, including
those that Adler is withholding on the basis of a purported “NLRA privilege” that no federal court
has ever recognized.

I.     Background of the dispute regarding Adler’s novel assertion of “NLRA” privilege.

X employed Adler as a software engineer in a role with broad access to X’s computer
infrastructure. X terminated Adler for openly discussing on an internal chat forum the initiation
of a computer command that would disable X’s back-end computer system and shut down
operations. Despite this indisputable fact, Adler is now challenging the reason for his separation,
claiming that X did not fire him but instead laid him off without proper WARN notice.

X served RFPs on Adler seeking, among other things, his communications with others about his
termination and his underlying causes of action—all of which are unquestionably relevant to
Adler’s claims and X’s defenses to the same. 1 On February 26, 2024, Adler served responses,
which included a purported “NLRA privilege” objection to seven requests, as well as a general
objection stating that “Plaintiff’s communications with other Twitter employees are privileged
under the NLRA, and Defendants’ attempt to obtain such communications violates the NLRA.”

On April 2, 2024, the Parties met and conferred regarding Adler’s deficient discovery responses
and objections. At that meeting, X’s counsel specifically asked Adler’s counsel if Adler was
withholding any documents or communications based on his asserted “NLRA privilege.” Adler’s
counsel affirmatively stated that Adler was not withholding any documents based on that privilege.

On April 17, 2024, however, Adler supplemented his discovery responses and, for the first time,

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 Adler asserts three causes of action: alleged violations of the federal and California WARN Acts
and failure to pay wages upon termination in violation of the Cal. Labor Code. ECF No. 1.

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provided a purported “privilege log” and informed X that he was in fact withholding responsive
communications with “Other Former Twitter Employees” based on a “NLRA privilege.” See
Exhibit 1.

II.    X Seeks highly relevant information about Adler’s termination and causes of action.

As a threshold matter, Adler does not assert that any of the requested communications X seeks to
compel are non-responsive or irrelevant—nor could he, as the communications go to very heart of
the issues in this proceeding:

Request Nos. 3 & 13 seek documents and communications between Adler and others regarding
his termination from X, which are relevant to Adler’s claim that he was laid off and entitled to
WARN Notice as opposed to being terminated for cause for proposing on an open, internal chat
forum initiation of a program that would shut down X. This information also goes to Adler’s
credibility, which applies equally to the remaining RFPs at issue.

Request Nos. 17 & 18 seek documents and communications between Adler and others regarding
the allegations in Adler’s complaint, which are relevant to, among other things, his understanding
of the basis for his discharge, and his alleged entitlement to reimbursements and related payments.

Request Nos. 14 & 15 seek documents and communications between Adler and others regarding
reimbursement of expenses from X or the use of vacation and/or paid-time off by X employees
which are relevant to, among other things, his claims seeking recovery of PTO and reimbursement.

III.   No federal court has ever recognized a categorical “NLRA” privilege.

Adler seeks to withhold relevant and responsive documents and communications between him and
any other person, including his current and former X co-workers, based on the assertion of a
blanket “NLRA privilege” that no federal court has ever recognized. In fact, federal courts have
uniformly rejected the adoption of the broad “NLRA privilege” Adler asserts. See, e.g., Aldapa v.
Fowler Packing Co. Inc., No. 1:15-cv-00420, 2016 WL 8738176, at *7 (E.D. Cal. Mar. 18, 2016)
(explaining that “the Court has the ability to regulate the discovery before it” and noting an absence
of any authority that “requires a federal court to adhere to decisions by the NLRB . . . in
ascertaining privileges for use in federal court actions”). As another example, in Degrandis v.
Children’s Hospital Boston, the court rejected an invitation to create a “labor relations” privilege,
reasoning that “Congress has never acted to establish a labor relations privilege, and no federal
court has ever recognized it.” 203 F. Supp. 3d 193, 199 (D. Mass. 2016). Similarly, in Chicago
Bridge & Iron Co. v. Fairbanks Joint Crafts Council, the court ordered the union to produce “union
materials related to bargaining strategy,” reasoning that “in light of the court’s obligation to
construe privileges narrowly and in the absence of binding precedent recognizing the existence of
a labor relations privilege[,] IBEW’s basis for nondisclosure is rejected.” No. 3:18-cv-100-JWS,
2019 WL 2579627, at *4 (D. Alaska June 23, 2019).

Consistent with these decisions, another federal court recently reaffirmed this principle in a highly
analogous case. Kinzer v. Whole Foods Market, Inc., No. 1:20-cv-11358-ADB (D. Mass. Dec. 17,
2021) (ECF No. 97). In Kinzer, a group of plaintiffs – represented by Adler’s same attorneys in


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this case – sought to withhold production of group chat messages on so-called “litigation updates,”
which contained relevant information about plaintiffs’ purposeful violation of workplace uniform
rules. Id. The Kinzer plaintiffs’ stated basis for avoiding production of those messages was that
they were subject to a categorical “NLRA” privilege. Id. Defendant sought production of these
messages to undercut plaintiffs’ allegations of retaliation and otherwise undermine plaintiffs’
credibility. Id. The Kinzer court agreed with Defendant, ordering plaintiffs to produce the
messages. Id. The court reasoned that “Plaintiffs do not dispute the relevance of the group text
messages,” and it “is well documented that federal courts have not recognized” a “concerted
activity” privilege. Id.

Adler’s privilege argument is rooted solely in NLRB decisions finding a qualified confidentiality
interest in certain information associated with union organizing activities, such that employers may
violate labor law by using discovery in separate proceedings to obtain that information depending
on the NLRB’s “balancing” of relevant interests. See Guess?, Inc., 339 NLRB 432 (2003). As an
initial matter, the NLRB’s decisions are inapplicable here, because the communications at issue
have nothing to do with union organizing. In any event, the NLRB’s standard is for deciding if an
unfair labor practice has occurred, not whether a privilege exists. And regardless, the NLRB’s
standard is satisfied here, because the information in question is highly relevant to this litigation,
no illegal motive exists or is alleged, and X is amenable to the documents being produced subject
to the existing protective order limiting any use to this action.

IV.    Even if an “NLRA privilege” applied in federal court, Adler has waived it in this case.

Adler has waived the alleged subject privilege by serving an egregiously deficient log on April 17,
2024, along with his supplemental discovery responses. See Exhibit 1. Pursuant to the Court’s
Standing Order, Adler must provide a privilege log that is “sufficiently detailed and informative
to justify the privilege.” Id. Specifically, “[w]ith respect to each communication for which a claim
of privilege or work product is made, the asserting party must, at the time of assertion, identify: a.
all persons, by name, title and/or job position, making or receiving the privileged or protected
communication; b. the date of the communication; and c. the subject matter of the
communication.” Id. (emphasis).

Here, Adler’s privilege log fails to satisfy any of the Standing Order requirements because it: (i)
fails to identify each communication that is being withheld, instead merely stating two broad date
ranges and two methods of communication (i.e., “Direct Messages” and “Slack Messages”); (ii)
fails to identify the persons who made or received the communications, much less identify them
by “name, title and/or job position”; and (iii) fails to state the subject matter to which the withheld
communications relate. Because Adler has failed to comply with the Standing Order by submitting
a plainly deficient log, he has waived any alleged “NLRA privilege” that he purports to exist.

Respectfully submitted,

/s/ Eric Meckley
Eric Meckley
Counsel for Defendant X CORP., as successor
in interest to TWITTER, INC.


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                                CERTIFICATE OF SERVICE

       I hereby certify that, on April 24, 2024, a true and accurate copy of this document was
served on counsel for Plaintiff via the CM/ECF system.

                                                    /s/ Eric Meckley
                                                    Eric Meckley




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              EXHIBIT 1
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1    SHANNON LISS-RIORDAN (SBN 310719)
     (sliss@llrlaw.com)
2
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3    (bmanewith@llrlaw.com)
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5
     Telephone:     (617) 994-5800
6    Facsimile:     (617) 994-5801

7    Attorneys for Plaintiff Eitan Adler,
     on behalf of himself and all others similarly situated
8

9                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
10                                 SAN FRANCISCO DIVISION
11
                                                          Case No. 3:23-cv-01788-JD
12   EITAN ADLER, on behalf of himself and all
     others similarly situated,                           PLAINTIFF’S SUPPLEMENTAL
13                                                        OBJECTIONS AND RESPONSES TO
                                                          REQUESTS FOR PRODUCTION OF
14
                              Plaintiff,                  DOCUMENTS TO PLAINTIFF EITAN
15                                                        ADLER, SET ONE
                   v.
16
     TWITTER, INC., and X CORP.
17

18                             Defendants.

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       PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
                             PRODUCTION OF DOCUMENTS, SET ONE
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1           Plaintiff, Eitan Adler by and through his attorneys, Lichten & Liss-Riordan, P.C., hereby
2    answers the requests for production of documents propounded by Defendants Twitter, Inc. and X
3    Corp. (collectively, “Defendants”). Plaintiff reserves the right to supplement their answers as
4
     necessary.
5                                       GENERAL OBJECTIONS

6           Plaintiff’s responses to the requests are subject to the General Objections set forth below.
7
     These objections are incorporated into the response to each and every request and are set forth in
8
     this manner to avoid duplication and restatement. For the purpose of clarity, the responses to
9
     certain requests may refer specifically to one or more General Objections. The failure to
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11   incorporate specifically a General Objection into a response, however, is not a waiver of the

12   General Objection.
13
            Plaintiff objects to Defendants’ requests to the extent they seek documents that constitute
14
     attorney work product or are subject to attorney/client or other applicable privilege or are
15
     otherwise not subject to discovery pursuant to the Federal Rules of Civil Procedure.
16

17          Plaintiff objects to Defendants’ requests to the extent they contain vague, ambiguous,

18   conclusory and/or undefined terms.
19
            Plaintiff objects to Defendants’ requests to the extent they are overly broad, are
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     unreasonable in scope, are unduly burdensome, are not proportional to the needs of the case, seek
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     documents that are neither relevant nor reasonably calculated to lead to the discovery of
22

23   admissible evidence, and/or seek documents that are already in Defendants’ possession.

24          Plaintiff objects to Defendants’ requests to the extent that they seek documents that pre-
25
     date or post-date the claims at issue in this matter on the grounds that requests seeking such
26
     documents are unduly burdensome, not proportional to the needs of the case, and seek
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       PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
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1
     documents that are neither relevant nor reasonably calculated to lead to the discovery of

2    admissible evidence.
3            Plaintiff objects to Defendants’ requests to the extent Defendants seek communications
4
     among Twitter employees. Plaintiff’s communications with other Twitter employees are
5
     privileged under the NLRA, and Defendants’ attempt to obtain such communications violates the
6

7
     NLRA.

8            Subject to and without waiving these general objections, Plaintiff responds to each of
9    Defendants’ requests as set forth below.
10
                                   OBJECTIONS AND RESPONSES
11

12   REQUEST FOR PRODUCTION NO. 1:

13             All DOCUMENTS that support YOUR contention that YOU were “laid off on

14    November 15, 2022” as alleged in paragraph 14 of the COMPLAINT.
15             RESPONSE:           Plaintiff objects to this Request as vague, overly broad, and
16    unduly burdensome. Plaintiff also objects to this Request to the extent it seeks information
17    that is attorney work product. Subject to and without waiving these objections, Plaintiff has
18    produced all responsive non-privileged documents in his possession.
19   REQUEST FOR PRODUCTION NO. 2:
20
               All DOCUMENTS reflecting the reason(s) why YOUR employment from Twitter
21
      ended.
22
               RESPONSE:           Plaintiff objects to this Request as vague, overly broad, and
23
      unduly burdensome. Subject to and without waiving these objections, Plaintiff has produced
24
      responsive non-privileged documents in his possession.
25
     REQUEST FOR PRODUCTION NO. 3:
26
               All DOCUMENTS reflecting COMMUNICATIONS that YOU had with any person
27
      at any time RELATING TO the termination of YOUR employment from Twitter.
28
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       PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
                             PRODUCTION OF DOCUMENTS, SET ONE
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1
            RESPONSE:              Plaintiff objects to this Request as vague, overly broad, and

2    unduly burdensome. Plaintiff also objects to this Request to the extent it seeks documents that

3    are covered by the attorney client privilege and/or are attorney work product. Additionally,

4    Plaintiff objects to this request to the extent it seeks documents that are in the possession of

5    Defendants. Plaintiff’s communications with other Twitter employees are also privileged

6    under the NLRA, and Defendants’ attempt to obtain such communications violates the
7    NLRA, to the extent Defendants seek communications among Twitter employees. Subject to
8    and without waiving these objections, Plaintiff has produced all non-privileged responsive
9    documents in his possession.
10   REQUEST FOR PRODUCTION NO. 4:
11          All DOCUMENTS that support YOUR contention that “Twitter…did not provide full
12
     final pay, benefits, and expense reimbursement on [YOUR] last day of employment” as
13
     alleged in paragraph 17 of the COMPLAINT.
14
            RESPONSE:              Plaintiff objects to this Request as vague, overly broad, and
15
     unduly burdensome. Subject to and without waiving these objections, Plaintiff has produced
16
     all responsive non-privileged documents in his possession.
17
     REQUEST FOR PRODUCTION NO. 5:
18
            All DOCUMENTS RELATING TO any request for reimbursement that YOU
19
     submitted to DEFENDANT that YOU contend was not paid.
20
            RESPONSE:              Plaintiff objects to this Request as vague, overly broad, and
21
     unduly burdensome. Subject to and without waiving these objections, Plaintiff has produced
22
     all responsive non-privileged documents in his possession.
23
     REQUEST FOR PRODUCTION NO. 6:
24
            All DOCUMENTS RELATING TO any payments that YOU received from
25

26   DEFENDANT in response to a request for reimbursement that YOU had submitted.

27

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      PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
                            PRODUCTION OF DOCUMENTS, SET ONE
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1
            RESPONSE:             Plaintiff objects to this Request as vague, overly broad, and

2    unduly burdensome. Subject to and without waiving these objections, Plaintiff has produced

3    all responsive non-privileged documents in his possession.

4    REQUEST FOR PRODUCTION NO. 7:

5           All DOCUMENTS that support YOUR contention that YOU were not paid for

6    accrued but unused vacation and/or paid time off when YOU were terminated.
7           RESPONSE:             Plaintiff objects to this Request as vague, overly broad, and
8    unduly burdensome. Plaintiff also objects to this Request to the extent it seeks information
9    that is attorney work product. Subject to and without waiving these objections, Plaintiff has
10   produced all responsive non-privileged documents in his possession.
11   REQUEST FOR PRODUCTION NO. 8:
12
            All DOCUMENTS RELATING TO YOUR calculations for any “final
13
     pay, benefits, and expense reimbursement” that YOU contend DEFENDANT
14
     owes to YOU.
15
            RESPONSE:             Plaintiff objects to this Request as vague, overly broad, and
16
     unduly burdensome. Plaintiff also objects to this Request to the extent it seeks documents that
17
     are covered by the attorney client privilege and/or are attorney work product. Subject to and
18
     without waiving these objections, Plaintiff has produced all responsive non-privileged
19
     documents in his possession.
20
     REQUEST FOR PRODUCTION NO. 9:
21
            All DOCUMENTS reflecting any vacation and/or paid time off that YOU took at any
22
     time from beginning of YOUR employment with Twitter until the termination of YOUR
23
     employment from Twitter, including but not limited to calendars (paper or electronic), cell
24
     phone records, travel records, financial records, and cell phone records.
25

26          RESPONSE:             Plaintiff objects to this Request on the basis that it is overbroad, it

27   seeks documents that are not relevant to the claims and affirmative defenses in this matter, it is

28   harassing, not proportional to the needs of the case, and an unnecessary invasion of privacy.
                                                      5

      PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
                            PRODUCTION OF DOCUMENTS, SET ONE
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1
     Subject to and without waiving these objections, Plaintiff has produced responsive non-

2    privileged documents in his possession reflecting vacation / paid time off he took in 2021 and

3    2022.

4    REQUEST FOR PRODUCTION NO. 10:

5            All online postings by YOU (for example, on Twitter, LinkedIn, Reddit, Instagram,

6    Facebook, Mastodon, etc.) during the period of October 25, 2022 through the date of YOUR
7    termination that reference or RELATE TO DEFENDANT.
8            RESPONSE:             Plaintiff objects to this Request on the basis that it is overbroad, it
9    seeks documents that are not relevant to the claims and affirmative defenses in this matter, it is
10   harassing, not proportional to the needs of the case, and an unnecessary invasion of privacy.
11   Subject to and without waiving these objections, Plaintiff has produced all responsive non-
12
     privileged documents in his possession.
13
     REQUEST FOR PRODUCTION NO. 11:
14
             All internet posts (including but not limited to on Facebook, Twitter, LinkedIn, Reddit,
15
     Mastodon, or other social media sites) that YOU, or anyone else acting on YOUR behalf, have
16
     created or published to others RELATING TO YOUR lawsuit against DEFENDANT or the
17
     claims alleged in the COMPLAINT.
18
             RESPONSE:             Plaintiff objects to this Request as vague, overly broad, and unduly
19
     burdensome. Additionally, Plaintiff objects to this Request to the extent it seeks documents that
20
     are covered by the attorney client privilege. Plaintiff also objects to this Request to the extent it
21
     seeks documents that are publicly available. Subject to and without waiving these objections,
22
     Plaintiff has produced all responsive non-privileged documents in his possession.
23
     REQUEST FOR PRODUCTION NO. 12:
24
             All DOCUMENTS RELATING TO any COMMUNICATIONS that
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26   YOU, YOUR attorneys, or anyone else acting on YOUR behalf, have sent to

27   any current or former employees of DEFENDANT RELATING TO this action.

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      PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
                            PRODUCTION OF DOCUMENTS, SET ONE
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1
            RESPONSE:             Plaintiff objects to this Request as vague, overly broad, and unduly

2    burdensome. Plaintiff also objects to this Request to the extent it seeks documents that are

3    covered by the attorney client privilege and/or attorney work product. Subject to and without

4    waiving these objections, Plaintiff has produced all responsive non-privileged documents in his

5    possession.

6    REQUEST FOR PRODUCTION NO. 13:
7           YOUR COMMUNICATIONS with any current or former employee of DEFENDANT
8    RELATING TO the termination of YOUR employment from Twitter.
9           RESPONSE:             Plaintiff objects to this request as vague, overly broad, and unduly
10   burdensome. Plaintiff objects to this request to the extent it seeks documents that are in the
11   possession of Defendants. Plaintiff’s communications with other Twitter employees are also
12
     privileged under the NLRA, and Defendants’ attempt to obtain such communications violates
13
     the NLRA, to the extent Defendants seek communications among Twitter employees. Subject
14
     to and without waiving these objections, Plaintiff has produced all responsive non-privileged
15
     documents in his possession.
16
     REQUEST FOR PRODUCTION NO. 14:
17
            YOUR COMMUNICATIONS with any current or former employee of DEFENDANT
18
     RELATING TO the reimbursement of expenses from Twitter.
19
            RESPONSE:             Plaintiff objects to this request as vague, overly broad, and unduly
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     burdensome. Plaintiff objects to this request to the extent it seeks documents that are in the
21
     possession of Defendants. Plaintiff’s communications with other Twitter employees are also
22
     privileged under the NLRA, and Defendants’ attempt to obtain such communications violates
23
     the NLRA, to the extent Defendants seek communications among Twitter employees. Subject
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     to and without waiving these objections, Plaintiff has produced all responsive non-privileged
25

26   documents in his possession.

27   REQUEST FOR PRODUCTION NO. 15:

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      PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
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1
             YOUR COMMUNICATIONS with any current or former employee of DEFENDANT

2    RELATING TO the use of vacation and/or paid time off by employees at Twitter.

3            RESPONSE:            Plaintiff objects to this request as vague, overly broad, and unduly

4    burdensome. Plaintiff objects to this request to the extent it seeks documents that are in the

5    possession of Defendants. Plaintiff’s communications with other Twitter employees are also

6    privileged under the NLRA, and Defendants’ attempt to obtain such communications violates
7    the NLRA, to the extent Defendants seek communications among Twitter employees. Subject
8    to and without waiving these objections, Plaintiff has produced all responsive non-privileged
9    documents in his possession.
10   REQUEST FOR PRODUCTION NO. 16:
11           All DOCUMENTS RELATING TO any COMMUNICATIONS (written or oral)
12
     between YOU and any current or former employee of DEFENDANT RELATING TO such
13
     person participating in, serving as a witness in, or otherwise becoming involved in any way in
14
     this action.
15
             RESPONSE:            Plaintiff objects to this request as vague, overly broad, and unduly
16
     burdensome. Plaintiff objects to this request to the extent it seeks documents that are in the
17
     possession of Defendants. Plaintiff’s communications with other Twitter employees are also
18
     privileged under the NLRA, and Defendants’ attempt to obtain such communications violates
19
     the NLRA, to the extent Defendants seek communications among Twitter employees. Subject
20
     to and without waiving these objections, Plaintiff has produced all responsive non-privileged
21
     documents in his possession.
22
     REQUEST FOR PRODUCTION NO. 17:
23
             All COMMUNICATIONS, including cell phone text messages, messaging app
24
     messages, social media chats, emails, etc., between YOU and any person (other than YOUR
25

26   attorneys of record) that RELATE TO any of allegations in the COMPLAINT.

27           RESPONSE:            Plaintiff objects to this Request on the basis that it is overbroad, it

28   seeks documents that are not relevant to the claims and affirmative defenses in this matter, it is
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      PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
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1
     harassing, not proportional to the needs of the case, and an unnecessary invasion of privacy.

2    Plaintiff’s communications with other Twitter employees are also privileged under the NLRA,

3    and Defendants’ attempt to obtain such communications violates the NLRA, to the extent

4    Defendants seek communications among Twitter employees. Subject to and without waiving

5    these objections, Plaintiff has produced all responsive non-privileged documents in his

6    possession.
7    REQUEST FOR PRODUCTION NO. 18:
8           All DOCUMENTS that YOU have obtained from any current or former employee of
9    DEFENDANT that relate in any way the allegations in the COMPLAINT.
10          RESPONSE:             Plaintiff objects to this request as vague, overly broad, and unduly
11   burdensome. Plaintiff objects to this request to the extent it seeks documents that are in the
12
     possession of Defendants. Plaintiff’s communications with other Twitter employees are also
13
     privileged under the NLRA, and Defendants’ attempt to obtain such communications violates
14
     the NLRA, to the extent Defendants seek communications among Twitter employees. Subject
15
     to and without waiving these objections, Plaintiff has produced all responsive non-privileged
16
     documents in his possession.
17
     REQUEST FOR PRODUCTION NO. 19:
18
            All DOCUMENTS created by or belonging to DEFENDANT that YOU obtained during
19
     YOUR employment with DEFENDANT that YOU still have in your possession, custody, or
20
     control.
21
            RESPONSE:             Plaintiff objects to this Request as vague, overly broad, and
22
     unduly burdensome. Subject to and without waiving these objections, Plaintiff has produced all
23
     responsive non-privileged documents in his possession.
24
     REQUEST FOR PRODUCTION NO. 20:
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26          All DOCUMENTS that reflect or support any damages YOU claim to have suffered as a

27   result of DEFENDANT’S unlawful conduct as alleged in the COMPLAINT.

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      PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
                            PRODUCTION OF DOCUMENTS, SET ONE
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            RESPONSE:             Plaintiff objects to this Request as vague, overly broad, and unduly

2    burdensome. Plaintiff also objects to this Request to the extent it seeks documents that are

3    covered by the attorney client privilege and/or attorney work product. Subject to and without

4    waiving these objections, Plaintiff has produced all responsive non-privileged documents in his

5    possession.

6    REQUEST FOR PRODUCTION NO. 21:
7           All DOCUMENTS that reflect or RELATE TO any efforts YOU have undertaken to
8    “compl[y] with the notice requirement” of the California Private Attorneys General Act,
9    including but not limited to all DOCUMENTS submitted to the California Labor Workforce
10   Development Agency.
11          RESPONSE:             Plaintiff objects to this Request as vague, overly broad, and unduly
12
     burdensome. Plaintiff also objects to this Request to the extent it seeks documents that are
13
     covered by the attorney client privilege and/or attorney work product. Subject to and without
14
     waiving these objections, Plaintiff has produced all responsive non-privileged documents in his
15
     possession.
16

17

18                                               Respectfully submitted,

19                                               EITAN ADLER, on behalf of himself and all others
                                                 similarly situated,
20

21                                               By his attorneys,

22
                                                  /s/ Shannon Liss-Riordan
23                                               Shannon Liss-Riordan, SBN 310719
24                                               Bradley Manewith (pro hac vice forthcoming)
                                                 LICHTEN & LISS-RIORDAN, P.C.
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                                                 Boston, MA 02116
26                                               (617) 994-5800
27                                               Email: sliss@llrlaw.com; bmanewith@llrlaw.com

28         Dated:         April 17, 2024
                                                    10

      PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
                            PRODUCTION OF DOCUMENTS, SET ONE
              Case 3:23-cv-01788-JD Document 56 Filed 04/24/24 Page 16 of 17



1
                                    CERTIFICATE OF SERVICE

2
            I, Shannon Liss-Riordan, hereby certify that a true and accurate copy of the foregoing
3
     document was served on counsel of record for Defendants in this matter by electronic mail on
4
     April 17, 2024.
5

6
                                                         /s/ Shannon Liss-Riordan
7                                                        Shannon Liss-Riordan

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       PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
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1
                                        PRIVILEGE LOG

2    DATE              SENDER / RECIPIENT              DESCRIPTION       PRIVILEGE
     Oct. 31, 2022 –   Plaintiff / Other Former        Direct Messages   NLRA
3    Dec. 8, 2022      Twitter Employees
4    Feb. 2024 –       Plaintiff / Other Former        Slack Messages    NLRA
     Mar. 2024         Twitter Employees
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     PLAINTIFF’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANTS’ REQUESTS FOR
                           PRODUCTION OF DOCUMENTS, SET ONE
